Case 4:19-cv-00004-JHM-HBB Document 6 Filed 02/08/19 Page 1 of 2 PageID #: 11




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               OWENSBORO DIVISION
                           CIVIL ACTION NO.: 4:19-CV-4-JHM

                                 ELECTRONICALLY FILED


KENNETH MCKNIGHT                                                                   PLAINTIFF

V.

ALLIANCE COAL, LLC                                                               DEFENDANT

                        CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the Defendant, Alliance

Coal, LLC, by and through counsel, states that it is a non-governmental entity of which 99.999%

of the ownership interest is held by Alliance Resource Operating Partners, L.P. Alliance

Resource Operating Partners, L.P. is a non-governmental entity of which 98.9899% of the

ownership interest is held by Alliance Resource Partners, L.P. Alliance Resource Partners, L.P.

is a publicly-traded master limited partnership whose limited partnership interests are traded on

the NASDAQ under the ticker symbol ARLP.



                                               Respectfully submitted,

                                               /s/ Elizabeth S. Muyskens
                                               Richard G. Griffith
                                               Elizabeth S. Muyskens
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                                               COUNSEL FOR DEFENDANT
Case 4:19-cv-00004-JHM-HBB Document 6 Filed 02/08/19 Page 2 of 2 PageID #: 12




                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Corporate Disclosure Statement was served
by electronic mail and United States mail, postage prepaid, on this 8th day of February, 2019
upon:

         Thomas E. Springer III, Esq.
         Springer Law Firm, PLLC
         18 Court Street
         Madisonville, KY 42431
         COUNSEL FOR PLAINTIFF


                                           /s/ Elizabeth S. Muyskens
                                           COUNSEL FOR DEFENDANT




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